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                    UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION


WILLIAM STALLWORTH AND                     )
ERIC LOGAN, INDIVIDUALLY,                  )
AND ON BEHALF OF ALL                       )
OTHERS SIMILARLY SITUATED,                 )      CIVIL ACTION NO.
                                           )
     Plaintiffs,                           )      1: 15-cv-03978-ELR
                                           )
v.                                         )
                                           )
NOBLE RECOVERY SERVICES,                   )
LLC, AMY GRAVLEY, AND                      )
DAVID GRAVLEY,                             )
                                           )
     Defendants.

                       ORDER APPROVING SETTLEMENT



         Having amicably resolved the underlying dispute between each other, Plaintiffs
William Stallworth and Eric Logan, and Defendants Noble Recovery Services, LLC,
Amy Gravley and David Gravley, have hereby consented to file this Dismissal with
Prejudice of all Claims in the above-styled civil action, with each party to bear its
own costs. The Parties request that the Court approve the Settlement Agreement,
including the claims pursuant to the Fair Labor Standards Act, and order the clerk to
mark the above-styled lawsuit "Dismissed with Prejudice" upon the docket records.

        Accordingly, for good cause shown, the Court GRANTS the Parties' Joint
Motion for Approval of Settlement (Doc. No. 30); APPROVES the Parties'
Settlement Agreements (Doc. No. 31); DISMISSES WITH PREJUDICE this case;
and DIRECTS the Clerk to close this action.
                                M
      SO ORDERED this      /0   day of   /J, ;f,,J;(z       , 2016.
